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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 1:16-cv-21874-KMM

   CUTHBERT HAREWOOD,

             Plaintiff,

   v.

   MIAMI-DADE COUNTY, a political
   Subdivision of the State of Florida and
   JOHN ALEXANDER, a resident of the
   State of Florida,

             Defendants.
                                                    /

                           ORDER GRANTING MOTION TO DISMISS
             THIS CAUSE is before the Court on Defendant Miami-Dade County’s Motion to

   Dismiss Plaintiff Cuthbert Harewood’s Second Amended Complaint (ECF No. 20). Plaintiff

   filed a Response (ECF No. 20) and Defendant Miami-Dade County filed a Reply (ECF No. 25).

   The matter is now ripe for review.

             UPON CONSIDERATION of the Motion, the Response, the pertinent portions of the

   record, and being otherwise fully advised in the premises, the Court enters the following Order.

        I.       BACKGROUND1

             On July 20, 2013, Plaintiff Cuthbert Harewood (“Plaintiff”) was waiting for his wife, Ms.

   Coleman, to arrive in her vehicle at the corner of NW 18th Avenue and NW 67th Street in

   Miami-Dade County. Second Am. Compl. ¶ 17. Ms. Coleman pulled up to the street and

   Plaintiff approached the driver’s side window. Id. ¶ 18. Plaintiff leaned inside the vehicle to

   advise Ms. Coleman where to park. Id. 19. As Plaintiff did so, Officer John Alexander pulled

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    The following background facts are taken from Plaintiff’s Second Amended Complaint, (ECF
   No. 4-1), and accepted as true for purposes of ruling on this Motion to Dismiss.
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   up behind Ms. Coleman’s vehicle. Id. Officer Alexander instructed Plaintiff to move away from

   the vehicle. Id. ¶ 20. Plaintiff attempted to explain that he was telling Ms. Coleman where she

   should park, but before he could finish doing so, Officer Alexander yelled at Plaintiff to get away

   from the car. Id. ¶¶ 22, 24. Plaintiff placed his hands at shoulder height with his palms facing

   forward and backed away from Ms. Coleman’s car until he was on the sidewalk. Id. ¶¶ 25-6. As

   he stepped onto the sidewalk, Plaintiff told Officer Alexander “I am a grown man. You do not

   have to talk to me like that.” Id. ¶ 26. Officer Alexander then exited his vehicle, raced over to

   Plaintiff, and “slammed” him to the middle of the street. Id. ¶ 27. Plaintiff did not resist Officer

   Alexander at any point and, while Plaintiff lay on the ground, Officer Alexander tased Plaintiff

   in his upper torso near his heart. Id. ¶¶ 28-29. According to the report generated by Officer

   Alexander’s taser, Officer Alexander tased Plaintiff three times during an eighteen second period

   and each cycle lasted five seconds and employed 50,000 volts. Id. ¶¶ 30-33. Plaintiff motioned

   toward his chest in pain and Officer Alexander pulled out his firearm, placed it against Plaintiff’s

   head, and screamed “I will fucking kill you.” Id. ¶ 34. As a result of being tased, Plaintiff was

   unable to control his bladder for over two weeks and required the insertion of a catheter in his

   heart. Id. ¶ 35.

          Plaintiff alleges four causes of action against Miami-Dade County (the “County”)2:

   Count I – Deprivation of Civil Rights – Failure to Train; Count II – Deprivation of Civil Rights –

   Miami Dade County’s Taser Policy Violates the Fourth Amendment; Count III – State Law False

   Arrest/Imprisonment; and Count IV – State Law Battery.




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      Plaintiff alleges seven causes of action in all, however, only Counts I through IV are alleged
   against the County and the subject of the instant motion to dismiss.
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      II.         LEGAL STANDARD
             To survive a motion to dismiss, a complaint must contain sufficient factual matter,

   accepted as true, to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

   U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The

   purpose of this requirement is “to give the defendant fair notice of what the claim is and the

   grounds upon which it rests.” Twombly, 550 U.S. at 555. When considering a motion to

   dismiss, the court must accept all of the plaintiff’s allegations as true, construing them in the

   light most favorable to the plaintiff. Pielage v. McConnell, 516 F.3d 1282, 1284 (11th Cir.

   2008).

             A complaint must also contain enough facts to indicate the presence of the required

   elements. Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1302 (11th Cir. 2007). However, “[a]

   pleading that offers ‘a formulaic recitation of elements of a cause of action will not do.’” Iqbal,

   556 U.S. at 678 (quoting Twombly, 550 U.S. at 555). “[C]onclusory allegations, unwarranted

   deductions of fact or legal conclusions masquerading as facts will not prevent dismissal.”

   Oxford Asset Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002).

      III.        DISCUSSION

             A.     Section 1983 Liability Based on an Officially Promulgated Policy

             The County argues that Plaintiff fails to allege or identify an officially-promulgated

   county policy because Agenda Item No. 12(B)7, (ECF No. 11-1 at 1), is a memorandum from the

   County Manager to the Chairman and Members of the Commission containing the results of the

   Miami-Dade Police Department’s review of its “revised taser policy,” not an officially




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   promulgated policy.3 Defs’ Br. at 7 (ECF No. 20). Even if the Court were to construe Agenda

   Item No. 12(B)7 as an official policy, the County argues that the policy does not cause the

   deprivation of civil rights.

           Section 1983 provides a private cause of action against a government for its

   unconstitutional actions. Vila v. Miami-Dade Cnty., 65 F. Supp. 3d 1371, 1379 (S.D. Fla. 2014)

   (citing Monell v. New York City Dep’t of Social Srvcs., 436 U.S. 658, 690 (1978). However,

   “[t]he Supreme Court has placed strict limitations on municipal liability under section 1983.”

   Gold v. City of Miami, 151 F.3d 1346, 1350 (11th Cir. 1998). A local governmental entity

   cannot be held liable under § 1983 using a respondeat superior theory for injuries caused solely

   by its employees. Monell, 436 U.S. at 694. In order to impose § 1983 liability on a local

   governmental entity, “a plaintiff must show: (1) that his constitutional rights were violated; (2)

   that the [local governmental entity] had a custom or policy that constituted deliberate

   indifference to that constitutional right; and (3) that the policy or custom caused the violation.”

   McDowell v. Brown, 392 F.3d 1283, 1289 (11th Cir. 2004). “It is only when the ‘execution of

   the government’s policy or custom . . . inflicts the injury’ that the local government may be held

   liable under § 1983.” City of Canton v. Harris, 489 U.S. 378, 385 (1989) (internal citation

   omitted). In order to establish that such a policy exists, the party must prove either “(1) an

   officially promulgated county policy or (2) an unofficial custom or practice of the county shown

   3
      Agenda Item No. 12(B)7 is a public record whose contents are not in dispute and which
   Plaintiff cites to throughout the Second Amended Complaint. As such, the Court may consider
   Agenda Item No. 12(B)7 in its analysis. See Brooks v. Blue Cross and Blue Shield of Fla., Inc.,
   116 F.3d 1364, 1369 (“where the plaintiff refers to certain documents in the complaint and these
   documents are central to plaintiff’s claim, then the Court may consider the documents part of the
   pleadings for purposes of Rule 12(b)(6) dismissal, and the defendant’s attaching such documents
   to the motion to dismiss will not require conversion of the motion into a motion for summary
   judgment.”); Harris v. Ivax Corp., 182 F.3d 799, n. 2(11th Cir. 1999) (“A document central to
   the complaint that the defense appends to its motion to dismiss is also properly considered,
   provided that its contents are not in dispute”).
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   through repeated acts of a final policymaker for the county. Grech v. Clayton Cnty. Ga., 335

   F.3d 1326, 1329 (11th Cir. 2003).

           Plaintiff alleges that the County’s officially promulgated taser policy (the “Taser

   Policy”)4 violates a citizen’s Fourth Amendment right to be free from excessive force. The Taser

   Policy states in relevant part:

           Escalating resistance from passive physical resistance toward active physical
           resistance occurs when the subject is exhibiting threatening body language (which
           is including but not limited to balding the body, assuming a boxer stance, circling
           the officer, moving the hands from open to closed forming a fist, etc.) associated
           with verbal threats, or refusing to comply with the officer’s instructions and has
           the apparent ability to physically challenge the officer.

   See Taser Policy at 107 (emphasis added). Plaintiff argues that the last clause, “or refusing to

   comply with the officer’s instructions and has the apparent ability to physically challenge the

   officer,” is overly broad.

           First, the parties dispute whether Agenda Item No. 12(B)7 constitutes an “official

   policy.” The Court agrees with the County that Agenda Item No. 12(B)7 does not constitute an

   official policy—it is a memorandum and, from the face of the memorandum, it is unclear that the

   Taser Policy was adopted by the County. See Sewell v. Town of Lake Hamilton, 117 F.3d 488,

   489 (11th Cir. 1997) (“A policy is a decision that is officially adopted by the municipality, or

   created by an official of such rank that he or she could be said to be acting on behalf of the

   municipality.”). Plaintiff’s argument that the passage of Agenda Item No. 12(B)7 is evidence

   that the Taser Policy was adopted and became an official policy is speculative at best.




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     Plaintiff refers to the Miami-Dade Police Department Procedures for Use of the Taser Revised
   December 2004 (“MDPD Procedures for Use of the Taser”) (ECF No. 11-1 at 102-107) as the
   “Taser Policy.” See Pl’s Br. at 6 (ECF No. 25). The Taser Policy is attached to a memorandum
   from the Director of the Miami-Dade Police Department to the County Manager, dated
   December 16, 2004. (ECF No. 11-1 at 100; Attachment E to Agenda Item No. 12(B)7).
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          Second, even if the Court were to find that the Taser Policy was adopted by the County

   and in effect at the time of the incident which gave rise to the Second Amended Complaint, the

   Taser Policy is not unconstitutional as applied.        Plaintiff argues that the Taser Policy is

   unconstitutional as applied because it permitted Officer Alexander to taser him for “essentially

   not listening fast enough.” See Pl’s Br. at 8. Specifically, Plaintiff argues that the “County’s

   policy does not limit the use of force by distinguishing between subjects who are in the process

   of complying with the officer’s instruction and those who are not, nor does it distinguish between

   subjects who have committed a crime and those who have not” and thus the Taser Policy is

   unreasonable. Id.

          The Taser Policy states “[t]he Miami-Dade Police Department (MDPD) embraces a

   philosophy, which includes a policy to use only that level of force reasonably necessary to

   control or otherwise subdue violent or potentially violent individuals.” See Taser Policy at 102.

   The Taser Policy also states that “[a]n officer’s response level to subject resistance should

   always depend upon subject/officer factors such as age, size, weight, and the subject’s apparent

   ability to physically challenge the officer or do harm to himself or others, balanced against the

   seriousness of the incident.” Id. Further, “[a]n officer’s decision to deploy the Taser shall

   involve an arrest or custodial situation wherein the subject is escalating resistance from passive

   physical resistance towards active physical resistance.” Id. There are additional provisions for

   how an officer should respond when a subject is exhibiting threatening body language and when

   a subject makes physically evasive movements to defeat an officer’s attempt at control.

          Plaintiff relies upon Tennessee v. Garner, 471 U.S. 1 (1985), to support his argument that

   the Taser Policy is unconstitutional as applied. There, the statute in question provided “[i]f, after

   notice of the intention to arrest the defendant, he either flee [sic] or forcibly resist [sic], the



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   officer may use all the necessary means to effect the arrest.” Id. at 5. The Court of Appeals for

   the Eleventh Circuit found that the statute failed as applied in Garner “because it did not

   adequately limit the use of deadly force by distinguishing between felonies of different

   magnitudes—‘the facts, as found, did not justify the use of deadly force under the Fourth

   Amendment.’” Id. at 6 (internal citation omitted). The Supreme Court held that “[t]he use of

   deadly force to prevent the escape of all felony suspects, whatever the circumstances, is

   constitutionally unreasonable” and held that the statute, while not unconstitutional on its face,

   was unconstitutional as applied in those circumstances. Id. at 11. Unlike the facts in Garner,

   here, the Taser Policy pertains to a “less than lethal Conducted Energy Weapon” and does not

   justify the use of deadly force. See Taser Policy at 102. Further, the Taser Policy, unlike the

   statute in Garner, provides adequate limitations to the use of force and sets forth procedural

   guidelines for various hypothetical scenarios. See Wakefield v. City of Pembroke Pines, 269 Fed.

   App’x 936, 940 (11th Cir. 2008) (affirming district court’s grant of summary judgment in favor

   of City as to section 1983 claim where plaintiff failed to submit any evidence that the City had an

   officially adopted policy authorizing the use of excessive force against African-Americans and,

   in fact, the record demonstrated that the general orders of the police department “instruct[ed]

   officers to use the minimum amount of force necessary to control the subject and to use deadly

   force only as a last resort”). Thus, the Taser Policy which Plaintiff alleges was in effect at the

   time of the incident is objectively reasonable as applied.

          Third, Plaintiff fails to allege that the Taser Policy caused the violation. The “official

   policy must be ‘the moving force of the constitutional violation’ in order to establish the liability

   of a government body under § 1983.” Polk Cnty. v. Dodson, 454 U.S. 312, 326 (quoting Monell,

   436 U.S. at 694). A plaintiff “must demonstrate “that the municipal action was taken with the



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   requisite degree of culpability and must demonstrate a direct causal link between the municipal

   action and the deprivation of federal rights.” Board of Cnty. Com’rs of Bryan Cnty., Okl. v.

   Brown, 520 U.S. 397, 404 (1997). “Rigorous standards of culpability and causation must be

   applied to ensure that the [local governmental entity] is not held liable solely for the actions of its

   employee.” Id. at 405. Contrary to Plaintiff’s assertion that the policy “allows officers to taser

   anyone who fails to follow instructions, regardless of whether the command is lawful, the subject

   is afforded a reasonable opportunity, or the officer gives a single command,” the Taser Policy

   explicitly states that “[t]he Taser shall not be used as a tool of coercion, to intimidate an

   individual into compliance with simple requests or directives by an officer.” See Taser Policy at

   102.   Plaintiff has failed to sufficiently allege that the Taser Policy caused the alleged

   constitutional violation. See Polk Cnty., 454 U.S. at 326.

          For the foregoing reasons, the Court finds that Plaintiff has failed to state a claim under

   Section 1983 based on an officially promulgated policy.

          B. Section 1983 Liability for a Failure to Train

          The County argues that Plaintiff’s claim for failure to train must be dismissed because

   Plaintiff has failed to: (1) identify a widespread practice of inadequate training that the County

   was aware of but deliberately indifferent to; (2) allege any facts demonstrating that the

   Commission or Mayor approved of a policy or custom of failing to properly train police officers,

   which caused any alleged injuries; and (3) allege or identify a pattern of widespread prior

   constitutional violations that show that the County displayed deliberate indifference to the

   purported unconstitutional acts of its officers. Def’s Br. at 15 (ECF No. 11).

          A local governmental entity’s “liability flowing from a policy or custom ‘may include a

   failure to provide adequate training if the deficiency evidences a deliberate indifference to the



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   rights of its inhabitants.’” Rivas v. Figueroa, No. 11-23195-Civ., 2012 WL 1378161, *2 (Apr.

   20, 2012) (quoting Lewis v. City of W. Palm Beach, Fla., 561 F.3d 1288, 1293 (11th Cir. 2009)).

   “The Supreme Court has cautioned ‘that there are limited circumstances in which an allegation

   of a failure to train can be the basis for liability under § 1983.’” Whitaker v. Miami-Dade Cnty.,

   126 F. Supp. 3d 1313, 1323 (S.D. Fla. 2015) (quoting City of Canton, 489 U.S. at 389). A local

   governmental entity’s failure to train must amount to “deliberate indifference to the rights of

   persons with whom the [untrained employees] come into contact.” Connick v. Thompson, 563

   U.S. 51 (2011). “‘[D]eliberate indifference’ is a stringent standard of fault, requiring proof that a

   municipal actor disregarded a known or obvious consequence of his action.” Board of Cnty.

   Com’rs of Bryan Cnty., Okl. v. Brown, 520 U.S. 397, 409 (1997).

          Because it is rare for a local governmental entity to have an express written or oral policy

   of inadequately training its employees, the Supreme Court has elaborated that a plaintiff may

   prove the existence of such a policy by showing that a failure to train evidenced a “deliberate

   indifference.” See Gold v. City of Miami, 151 F.3d at 1350. “Municipal liability under § 1983

   attaches where—and only where—a deliberate choice to follow a course of action is made from

   among various alternatives by city policymakers.” City of Canton, 489 U.S. at 389 (internal

   quotation omitted).    In order to establish a “deliberate indifference,” a plaintiff must present

   evidence of the local governmental entity’s knowledge of a need to train and/or supervise with

   respect to a particular area and that the local governmental entity made the deliberate choice not

   to take action. See Gold v. City of Miami, 151 F.3d at 1350. As such, notice is a necessary

   requirement. See Wright v. Sheppard, 919 F.2d 665 (11th Cir. 1990). The Court of Appeals for

   the Eleventh Circuit has stated that “deliberate indifference has three components: (1) subjective

   knowledge of a risk of serious harm; (2) disregard of that risk; [and (3)] conduct that is more



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   than mere negligence.” Williams v. DeKalb Cnty., 327 Fed. App’x 156, 160 (11th Cir. 2009)

   (quoting McElligott v. Foley, 182 F.2d 1248, 1255 (11th Cir. 1999)).

          Plaintiff alleges that the County violated his constitutional rights by failing to train its

   officers, including Officer Alexander, on the known dangerous consequences of tasing

   individuals in the upper torso with Taser X26. See Second Am. Compl. ¶ 45. Specifically,

   Plaintiff alleges that the County was “aware of prior incidents where officers tased individuals in

   the upper torso causing death or serious bodily injury” in 2005. Id. ¶ 49. Plaintiff also cites the

   2014 passage of Agenda Item No. 11(A)(7),5 which noted that Miami-Dade Police Department

   may need to reform policies related to taser use and training, in support of his contention that the

   County was on notice of several incidents “involving the use of tasers on individuals who have

   subsequently lost their lives.” See Second Am. Compl. ¶¶ 57.

          Plaintiff’s general allegations of “several incidents involving the use of Tasers on

   individuals who subsequently died” are insufficient. See Callahan v. City of Hollywood, No. 14-

   CIV-62960, 2015 WL 1191174, *6 (S.D. Fla. Mar. 13, 2015) (in granting the motion to dismiss,

   the court held that plaintiff’s allegations of “long-standing, wide-spread history of failing to

   properly hire, train and supervise” were too conclusory to support notice pleading).

   Furthermore, the incident which gave rise to the complaint occurred in 2013, thus, the 2014

   passage of Agenda Item No. 11(A)(7) is not evidence of prior notice. The Court is left with the

   bare allegation that the County’s 2005 decision to conduct a study on the effects of tasers and

   recommendations from Taser International in 2009 are evidence of a need to train, one that the

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     Plaintiff alleges that “[i]n June 2014, Miami Dade County Board of Commissioners passed
   Agenda Item No. 11(a)(7), which acknowledged ‘several incidents in recent months in Miami-
   Dade County involving the use of tasers on individuals who have subsequently lost their lives,”
   and ‘given the potential harmful medical consequences of electroshock weapons, Miami-Dade
   Police Department may need to reform their policies for the use of the taser and provide
   additional training to dramatically reduce accidental loss of life.’” Second Am. Comp. ¶ 57.
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   County allegedly ignored. Plaintiff’s reliance upon a memorandum acknowledging the risks of

   tasers, standing alone, is insufficient evidence to support his argument that the County

   consciously disregarded those risks. See Vila, 65 F. Supp. at 1379 (S.D. Fla. 2014) (“even

   assuming that the Mayor’s memorandum demonstrates notice of a need to train . . . Plaintiff must

   also show that County policymakers deliberately ignored this notice . . . [i]n fact, Plaintiff’s cited

   policies seem to indicate the opposite of a deliberate choice of inaction.”). Plaintiff has not

   sufficiently alleged any prior incidents that put the County on notice of a need for additional

   training or supervision. See Gold, 151 F.3d at 1351 (“This Court repeatedly has held that

   without notice of a need to train or supervise in a particular area, a municipality is not liable as a

   matter of law for any failure to train and supervise”).

          It is possible that a need to train is “so obvious” that a local governmental entity may be

   liable without a pattern of prior constitutional violations. See Brown, 520 U.S. at 409 (the

   Supreme Court “simply hypothesized that, in a narrow range of circumstances, a violation of

   federal rights may be a highly predictable consequence of a failure to equip law enforcement

   officers with specific tools to handle recurring situations”). However, “[t]he single-incident

   liability exception is a narrow one.” Whitaker, 126 F. Supp.3d at 1325.

          In Count I, Plaintiff alleges that the County acted with deliberate indifference to

   Plaintiff’s constitutional rights by failing to train its officers in the following ways: (1) failing to

   train its officers on the known dangerous consequences of tasing individuals in the upper torso

   with Taser X26; (2) failure to train its officers on the dangerousness of tasing individuals in the

   chest; and (3) failing to train Officer Alexander on Taser International’s warnings and

   recommended point of aim. See Second Am. Compl. ¶¶ 45, 48, 55. These allegations are

   conclusory allegations, not well-pled facts.         The facts alleged in the Second Amended



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   Complaint, construed in the light most favorable to Plaintiff, do not give rise to the reasonable

   inference that Plaintiff’s injuries were a result of the County’s deliberate indifference to

   Plaintiff’s rights. See Whitaker, 126 F. Supp.3d at 1327 (dismissing plaintiff’s failure to train

   claim upon concluding that the facts alleged did not “plausibly give rise to the inference that a

   final policymaker for the County made a decision not to train the officer or that it was obvious

   that the failure to do so would result in a constitutional deprivation).

           The Court finds that Count I fails to adequately state a claim under Section 1983 for

   failure to train.

           C. State Law Claims6

           The County argues that it is entitled to sovereign immunity on Counts III and IV because

   the allegations against Officer Alexander amount to bad faith and/or willful conduct. The

   doctrine of sovereign immunity provides that the County—as a political subdivision of the State

   of Florida—is immune from suit except in instances where the State has given its consent to be

   sued. Moore v. Miami-Dade Cnty., 502 F. Supp. 2d 1224, 1234-5 (S.D. Fla. 2007). The State of

   Florida gave consent to be sued in tort actions through the enactment of Florida Statute § 768.28,

   with the limitation that the State waived its sovereign immunity from liability for torts “only to

   the extent specified” in the statute. Id. at 1235. “Florida courts have routinely held that a

   governmental entity may not be held liable where its employee’s actions were malicious, in bad

   faith, or showed reckless or wanton disregard for human rights, safety or property.” Id.

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     “[T]he nature of Florida Statutes § 768.28 tends to require a plaintiff to plead alternative and
   inconsistent claims against a government entity and its employees.” Valdes v. Miami-Dade
   Cnty., No. 12-22426-CIV, 2013 WL 5429938, *18 (S.D. Fla. Sept. 27, 2013) (internal quotation
   omitted). While a plaintiff would not ultimately be able to prevail on claims against both a
   government entity and its employees, a plaintiff is not barred from making “alternative,
   inconsistent allegations at the pleading stage.” Garayoa v. Reina, No. 16-20213-Civ-
   Cooke/Torres, 2016 WL 3348536, *2 (S.D. Fla., June 16, 2016) (appeal pending). However, the
   Court notes that Plaintiff has not plead Claims III and IV in the alternative.
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            In Count III, Plaintiff alleges that Officer Alexander “intentionally restrained Mr.

   Harewood against his will under circumstances that were unreasonable and unwarranted, and

   without legal authority.” Second Am. Compl. ¶ 93. In Count IV, Plaintiff alleges that Officer

   Alexander “slam[ed] Mr. Harewood into the ground and intentionally tas[ed] him three times.”

   Id. ¶ 102. For both Counts III and IV, Plaintiff re-alleges the facts detailing the sequence of

   events. See id. ¶¶ 90, 98.

            Plaintiff argues that the County’s “bad faith” analysis in support of its argument that it is

   entitled to sovereign immunity fails to consider the following: (1) that Officer Alexander could

   have reasonably believed that the County’s policy allowed him to taser Plaintiff, at least with the

   first taser shot; (2) that the issue of “bad faith” should be left for the jury; and (3) the Court

   should await Officer Alexander’s response to the allegations in the Second Amended Complaint.

            Plaintiff’s allegations in Counts III and IV, which state that Officer Alexander acted

   willfully, unreasonably, and without authority “cannot be characterized as anything other than

   [an act] committed in bad faith or with malicious purpose or in a manner exhibiting wanton and

   willful disregard of human rights, safety, or property.” Blue v. Miami-Dade Cnty., 2011 WL

   2447699, *2 (internal quotation omitted). The Court can make the bad faith determination based

   on the facts alleged in Plaintiff’s Second Amended Complaint. See Prieto v. Malgor, 361 F.3d

   1313, 1320 (11th Cir. 2004). The Court agrees with the County that Plaintiff’s allegations as to

   Officer Alexander state a claim for “wanton” and “malicious” acts and thus do not give rise to

   municipal liability under Florida’s waiver of sovereign immunity. See Mena v. Miami-Dade

   Cnty., 2014 WL 3667806, *2 (holding that the County was not liable for the actions of its

   detectives who pulled plaintiffs out of a car, threw them, beat them, handcuffed and arrested

   them).



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            For the foregoing reasons, Plaintiff’s state law claims against the County are dismissed

   without prejudice.

      IV.      CONCLUSION

            For the foregoing reasons, it is ORDERED AND ADJUDGED that Defendant Miami-

   Dade County’s Motion to Dismiss Plaintiff’s Second Amended Complaint (ECF No. 11) is

   GRANTED and Plaintiff’s Second Amended Complaint (ECF No. 4-1) as to defendant Miami-

   Dade County is hereby DISMISSED WITHOUT PREJUDICE.

            The County’s Motion to Stay Discovery (ECF No. 29) until resolution of its pending

   Motion to Dismiss (ECF No. 11) is DENIED AS MOOT.

            Plaintiff filed a Motion to Strike Portions of Miami-Dade County’s Reply (ECF No. 27)

   and Defendant Miami-Dade County filed a Response (ECF No. 28). Plaintiff asks that the Court

   strike Exhibit 1 to the County’s Reply (ECF No. 25), which the County propounds as evidence of

   “the procedures that were in place in 2013” and portions of the Reply that refer to Agenda Item

   No. 12(B)7 as an outdated policy. The Court did not consider Exhibit 1, or the portions of the

   County’s Reply which referred to Agenda Item No. 12(B)7 as an “outdated” policy, in ruling on

   the County’s Motion to Dismiss (ECF No. 11). Accordingly, Plaintiff’s Motion to Strike (ECF

   No. 27) is DENIED AS MOOT.

            DONE AND ORDERED in Chambers at Miami, Florida, this ____
                                                                 14th day of November,


   2016.
                                                                           Kevin Michael Moore
                                                                           2016.11.14 15:58:00 -05'00'
                                                   K. MICHAEL MOORE
                                                   CHIEF UNITED STATES DISTRICT JUDGE


   c: All counsel of record


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